             Case 5:21-cv-02186-RAL Document 38 Filed 04/13/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



EDNA GARCIA-DIPINI,

                               Plaintiff,                               CIVIL ACTION

                             vs.                                    NO. 21-CV-02186-RAL

LARRY PITT & ASSOCIATES,

                                Defendant.


       DEFENDANT, LARRY PITT & ASSOCIATES’ MOTION FOR SANCTIONS

        Defendant, Larry Pitt & Associates, by and through its attorneys Marks, O'Neill, O'Brien,

Doherty & Kelly, P.C., hereby submit the within Motion for Sanctions and avers as follows:

        1.       Plaintiff Edna Garcia-Dipini initiated this action in May 2021, against Defendant

Larry Pitt & Associates alleging her termination was based on retaliation for a request for a

reasonable accommodation under the American with Disabilities Act and because she was

Hispanic.

        2.       On July 29, 2021, Defendants set its first set of Interrogatories and Requests for

Production of Documents (“RFPD”) to Plaintiff.

        3.       On August 20, 2021, Defendant sent its supplemental Interrogatories and RFPD to

Plaintiff.

        4.       On September 14, 2021, Plaintiff provided her responses to Defendant’s first set of

Interrogatories and RFPD, however, Plaintiff’s responses were incomplete and deficient.

        5.       Plaintiff never responded to Defendant’s supplemental Interrogatories and RFPD.

        6.       Defendant made multiple attempts to contact Plaintiff regarding the outstanding

and incomplete discovery responses with the final attempt occurring on March 9, 2022, to no avail.


{PH821982.1}
             Case 5:21-cv-02186-RAL Document 38 Filed 04/13/22 Page 2 of 4




See Emails to Plaintiff’s former counsel requesting outstanding discovery attached hereto as

Exhibit “A”; Letter to Plaintiff requesting outstanding discovery attached hereto as Exhibit “B”.

        7.       Consequently, Defendant was forced to file a Motion to Compel Discovery

Responses Directed Toward Plaintiff on March 15, 2022. (Doc. 36).

        8.       Thereafter, on March 31, 2022, the Court granted Defendant’s Motion to Compel

Plaintiff’s discovery responses, ordering Plaintiff to respond to Defendant’s discovery responses

within ten (10) days. The Court’s order also provides that Plaintiff would suffer sanctions if she

failed to comply. (Doc. 37).

        9.       Despite a court order, compelling Plaintiff to respond to Defendant’s outstanding

discovery requests and provide complete responses to the identified deficiencies in Plaintiff’s

responses to Defendant’s first set of RFPD, Plaintiff has neither objected, nor answered said

discovery.

        10.      Federal Rule of Civil Procedure 37(b) permits the court to impose sanctions for a

party’s failure to comply with a court order. FED. R. CIV. P. 37(b)(2)(A).

        11.      Sanctions may include any of the orders listed in Rule 37(b)(2)(A)(i)-(vii); further,

the court can require the party failing to act pay reasonable expenses, including attorney fees

caused by the failure, unless the failure was substantially justified or other circumstances make the

award of expenses unjust.

        12.      In relevant part, pursuant to 37(b)(2)(A), the Court can impose the following

sanctions for Plaintiffs’ failure to respond to Defendant’s discovery requests:

                 (i) directing that the matters embraced in the order or other designated facts
                 be taken as established for purposes of the action, as the prevailing party
                 claims;




{PH821982.1}                                       2
           Case 5:21-cv-02186-RAL Document 38 Filed 04/13/22 Page 3 of 4




               (ii) prohibiting the disobedient party from supporting or opposing
               designated claims or defenses, or from introducing designated matters in
               evidence;

               (v) dismissing the action or proceeding in whole or in part

               (vi) rendering a default judgment against the disobedient party

        13.    In light of Plaintiff’s failure to respond to Defendant’s discovery requests as

ordered by the Court, sanctions are an appropriate remedy.

        14.    Specifically, Defendant requests that Plaintiff be prevented from using any of the

evidence that would be responsive to Defendant’s discovery request in the following manner:

               a.   to defend against Defendant’s assertions in its Counterclaim;

               b. to respond to a dispositive motion; or

               c. to support Plaintiff’s claims for wrongful termination, discrimination and

                    retaliation at the time of trial.

        15.    Defendant further requests that it be accepted as true that Plaintiff failed to mitigate

any potential damages because she failed to provide documents showing efforts to obtain

employment or income following her separation from Defendant.

        WHEREFORE, Defendant, Larry Pitt & Associates, respectfully request this Honorable

Court enter an Order in the form attached hereto and Grant Defendant’s Motion for Sanctions

                                                 Respectfully submitted,

                                                 MARKS, O’NEILL, O’BRIEN,
                                                 DOHERTY & KELLY, P.C.


                                                 /s/ Patricia A. Fecile-Moreland
                                                 Patricia A. Fecile-Moreland
                                                 I.D. No. 83798
                                                 One Penn Center
                                                 1617 John F. Kennedy Blvd., Suite 1010
                                                 Philadelphia, PA 19102



{PH821982.1}                                            3
           Case 5:21-cv-02186-RAL Document 38 Filed 04/13/22 Page 4 of 4




                                      pmoreland@moodklaw.com
                                      215-564-6688
Date: April 13, 2022




{PH821982.1}                             4
